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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                CRIMINAL NO. 10-20676

v.                                            HON. GERALD E. ROSEN

STEVEN DEMINK,
    aka, Dalton St. Clair,

               Defendant.
________________________________/

             GOVERNMENT’S SENTENCING MEMORANDUM

      The United States of America respectfully submits this Sentencing

Memorandum for the Court’s consideration in connection with the sentencing

hearing in this case scheduled for August 3, 2011 at 10:00 a.m. This case involves

the exploitation of numerous children, the manipulation of the mothers of these

children, and a breathtakingly broad scope of criminal conduct by the defendant,

Steven Demink, over the course of two years. The most sacred relationship in

nature was repeatedly perverted and exploited for the sexual gratification of this

defendant. The destruction left in Demink’s path is immeasurable. The guidelines

call for him to spend the rest of his life in prison. For the reasons stated below, the
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government agrees and recommends likewise.

                                         I

                           FACTUAL BACKGROUND

      On December 17, 2009, at a bus stop in Teton County, Idaho, a grandmother

asked her five year-old grandson if he had fun the night before, when he spent

time alone with his mother. The boy surprisingly said no. The boy told his

grandmother that his mother forced him to undress and “sucked on his pee pee.”

That brave child’s disclosure spurred the investigation into a mysterious man

named Dalton St. Clair (who really was the defendant Steven Demink) and the

landslide of sexual abuse charges in this case. At final count, seven mothers

sexually assaulted 12 children (all but one of which were their biological

children), all at the direction and insistence of Demink. Demink’s conduct relative

to each mother and the child-victims in this case is outlined below. But first, to set

the context of how Demink manipulated these women, a brief discussion of

Dalton St. Clair is in order.

1.    Dalton St. Clair

      Steven Demink created the online persona of Dalton St. Clair sometime

prior to April 2009 on a dating website called singleparentmeet.com. The

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biographical information provided by Demink in the Dalton St. Clair profile spoke

to the desires of many single mothers. St. Clair was young (30 years old),

attractive (described on the site as 6' 2" with an athletic build, blue eyes, and

brown hair), financially secure (with an annual income listed as $100,000-

$200,000 in the bio-pharmaceutical field), and available (St. Clair was looking for

a “serious relationship”). In three subsequent paragraphs, Dalton St. Clair

answered some of the website’s prearranged questions in the “Your Greeting”

section:

      A little about me . . .
      I am a pretty laid back person.. I love to laugh (good for the soul),
      spend time with family and friends, go to movies, nice dinners, clubs,
      work out, play sports, read, spend time with my daughter . . my
      interests are varied . . I am a HUGE support of the Arts, and I like to
      sit for art classes when I get the time (at the local Center for Creative
      Studies). So much in life interests me it is hard to list them all (sic)

      What are you looking for in a partner?
      I seek someone who is genuine..who has a heart..who has a
      conscience..who has a soul..friendly, outgoing, drama free..looks, job
      etc... none of that really matters to me..I want someone I connect
      with.. Someone that gets me..someone i can be myself around...
      Because when it all comes down to it, arent (sic) we all looking for
      someone who we can be a total goofball with and not worry ?? (sic)

      I’d just like to add . . .
      I have used a site like this, so i am pretty new to the whole concept.. I
      figured, why not..the woman I have been searching for may be

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       here..and if I don’t try to find her, shame on me! I love animals, and
       abhor cruelty of any kind..if you have to hunt to eat, by all means do
       so..but to hunt a rare species just to have its head on your wall, well I
       think thats kind of sick. I still keep in shape as best I can. I was a
       gymnast in my college days and old routines kind of die hard.

Besides these traits of loving animals and the arts, staying in shape, and not being

interested in a woman’s looks, Demink attached several pictures he stole from a

male modeling website of a well-built, young, attractive male.1

       With this fantasy created, Demink–posing as Dalton St. Clair–contacted

hundreds of women through the singleparentmeet website. It is difficult to

estimate the exact number of contacts Demink made because Demink used several

different screennames. But under just one of his Yahoo! email addresses, Demink

had 1009 chat partners. Most ignored or chastised Demink when he sought nude

pictures of children. But a persistent Demink found at least the following seven

women who succumbed to his desires.

2.     Rebecca Nail of Virginia and MV #1: April-December 2009

       Demink met Rebecca Nail off of the singleparentmeet website in


      1
               A copy of this singleparentmeet.com profile of Dalton St. Clair, including
the pictures, will be submitted to the court in chambers as Exhibit 1. Because the male
model depicted in the Dalton St. Clair profile played no role in Demink’s horrific crimes,
his pictures should not be filed in a publicly-available document.

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April 2009. Demink convinced Nail–the mother of a 15 year-old boy (MV

#1)–that nudity in the home was important to a boy’s development. Over time,

Demink promised a long-term relationship with Nail if she and her son would be

naked in the home, as that is how Demink described himself and his fictitious

daughter “Larissa.” Demink’s demands for nudity then warped into demands for

still images and live streaming video of oral sex, vaginal intercourse, and various

other sexual activities between Nail and MV #1. Nail complied. Every step of the

way, from the beginning of these so-called “exercises” to the end, Demink directed

the body positions, lightings, and actions of Nail and MV #1.

      Despite her compliance with his increasingly disgusting commands, Demink

berated Nail when she reported to Demink that she told MV #1 that they never had

to do any of those sexual acts again. Demink then demanded Nail retrieve MV #1

and again perform sex acts together. Never satisfied, Demink criticized Nail and

MV #1 for any darkened lighting or any misstep in the sexual acts. Demink also

chastised both Nail and MV #1 for not smiling during the activities.

      In total, Demink directed and ordered sexual acts on webcam between Nail

and MV #1 on four different occasions, and received more than 100 still images of

the child sexual abuse. To help with the manipulation, Demink sent images of

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child pornography of a young, naked girl to Nail, and claimed that the girl was his

daughter Larissa.

      Earlier this year, Nail pleaded guilty to production of child pornography,

and is currently serving a 30-year federal prison sentence for her crimes. In a

letter to the government in anticipation of Demink’s sentencing hearing, Rebecca

Nail wrote that Demink’s promises of a stable family life (Nail had recently lost

her job and her home) made her do “everything he wanted me to do, because I

didn’t want to ruin any chance of the happy little family . . . I so desperately

wanted.” Nail wrote that Demink “completely destroyed my son’s and my life”

and noted that she will never again be allowed to see her son. She concluded: “I

would have never done anything like this on my own.”2

3.    Wendy Beighley of Idaho and MVs #2-3: November-December 2009

      As he had earlier in the year with Rebecca Nail, Demink sought out Wendy

Beighley of Idaho on singleparentmeet.com. Beighley, the single mother of a five

year-old boy and three year-old girl (MV #2 and MV #3 respectively), received

instant messages from Demink (again, posing as St. Clair) that included still


      2
             A copy of Nail’s letter to the government will be provided to the court in
chambers as Exhibit 2.

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photographs of himself naked and pictures of a naked girl that Demink purported

to be his daughter. Demink convinced Beighley to sexually assault her five

year-old son by performing oral sex on the boy over a webcam while Demink

watched here in Michigan. The sexual assaults occurred on three distinct

occasions: December 3, 4, and 16, 2009.

      Much as it had been with Nail, Demink’s approach with Beighley was

condescending, berating, and manipulative. On November 23, 2009, Beighley and

Demink engaged in a two-hour chat session. Throughout the chat session, Demink

attempted to get Beighley to remove her clothes and remove her children’s clothes.

Frequent problems occurred. Beighley objected because her mother was present, a

few computer hiccups took place, and, at times, Beighley did not act as quickly as

Demink insisted. When Beighley asked how Demink thought this would help, he

dismissed her concerns by noting that he has his PhD in psychology and Beighley

had no right to ask him about the exercises. Instead, Demink promised, “I am

more than willing to be in a relationship with you . . . long term but I need to know

you’ll listen to me about this.” When Beighley continued to have problems either

getting the children in the room with the webcam or moving too slowly, Demink

threatened to end all communications with Beighley, mocking her by saying “you

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have no idea what you just blew for you and them with your fear” and “I hope

your (sic) happy, you just blew a chance to have a nice life, and assure it your kids

grew up a lot healthier than they will all because you were too selfish to listen.”

And when Beighley relented, Demink promised “you wont (sic) be sorry . . . a

beautiful future for you all is here if you stop being afraid.”

      On December 3, 2009, a little over a week later, Demink continued the

verbal assault, calling Beighley selfish and asking her to delete him from her

buddy list. Eventually, Demink convinced Beighley to “finish the exercise,” and

gave Beighley detailed, graphic instructions about how she should perform oral

sex on MV #2. Demink demanded she perform oral sex on MV #2 “until I buzz.”

In response to the five year-old’s reaction to this activity, Demink promised “if he

calms down, he gets whatever he wants for Xmas. So does she [Beighley].” It is

clear from the chats–and subsequent disclosures by the victim and Beighley–that

Demink’s berating finally achieved the sexually assaults for which he pressed so

vehemently.

      The next day, Demink involved MV #3. He instructed Beighley to show

MV #3 what Beighley did to MV#2 the day before (i.e., oral sex on MV #2), and

tells Beighley “let her [MV #3] do what you did yesterday.” Demink then

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commanded to Beighley: “lay back . . . legs apart and tell them to explore where

they came from” and instructed her to have the children touch Beighley’s genitals.

      Finally, on December 16, 2009, Demink demanded that Beighley perform

oral sex on MV #2. Beighley complied again. On this final occasion, Demink

even attempted to have MV #2 (the five year-old boy) vaginally penetrate

Beighley, but the boy ran off. The following morning, MV #2 disclosed the abuse

to his grandmother.

      On May 14, 2010, Wendy Beighley was sentenced to 7-20 years in prison

for the sexual assaults against her children. She too wrote a letter to the

government in anticipation of Demink’s sentencing hearing. “My children have

been taken from me and my parental rights terminated. I have not been able to

have any contact with my children since my arrest. . . . I lost my career that I had

worked so hard for, I was working at a hospital as an EMT. I had one semester

left of school and would have had an Associates degree as an RN.” In attempting

to explain her criminal conduct, Beighley described herself as lonely, vulnerable,

and emotionally drained. “I knew what he was asking of me was wrong and I

hated doing it, but I wanted him to like me. I did what he asked because I wanted

to please him.” Finally, Beighley stated the obvious: “I know that had I never met

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 ‘Dalton’ or subcumbed (sic) to his persuasion I would not be in prison and would

 be with my children.” 3

       MVs #2-3 now live with a family member who will likely adopt the

 children. In a victim impact letter, the children’s new guardian noted that “Mr.

 Demink’s crimes have effected my whole family and I.” After discussing the

 effect that Demink’s crimes have had on the children and her, the guardian

 explained that Beighley’s mother’s health has suffered and that Demink “has not

 effected just one or two people but very many lives.” 4

 4.    Candice Miller of Florida and MVs #4-5: April-May 2010

       In March and April of 2010, Demink and Candice Miller met online on the

 singleparentmeet.com website and had a relationship similar to Nail, Beighley, and

 the other women. Miller discussed her two children, a fourteen year-old boy

 (MV #4) and a nine year-old girl (MV #5). During some early chat discussions

 with Demink, Miller disclosed that her son (MV #4) had some behavioral issues.

 Seizing on Miller’s concern, Demink promised a fix that would bring Miller and



       3
              Beighley’s letter will be submitted to the court as Exhibit 3.
       4
                The victim impact statement of the guardian of MVs #2-3 will be submitted
 to the court as Exhibit 4.

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 her children closer together and improve her son’s behavior. Demink, as he had

 with other women, explained that he had a PhD in psychology and extensive

 training on how to break down barriers between children and their parents.

       In March 2010, Miller produced a series of still images of MV #4 and

 MV #5 naked and posed in a variety of sexually explicit positions. She sent the

 images to Demink via email. During a chat session the day after she first

 exploited the children, Miller hesitated at producing any more images because

 MV #5 may have been physically hurt by the first session. Miller even sending

 images of MV #5's wounds to Demink. Demink ridiculed Miller’s concern. “I am

 tired of the drama, you always have an excuse and when you don’t you invent

 them. Blame it on her...on him, anyone but you and you don’t want help with your

 kids.” Demink continued, “I am tired of being lied to and deceived when I am

 trying to do something good for you.” With her will overbore, Miller relented, “I

 will make a deal with you to show you I am serious but you have to give me this

 one night of nothing so my daughter’s bruises can heal some. I will finish

 tomorrow.”

       The next night, true to her word, Miller sexually assaulted both MV #4 and

 MV #5 while taking pictures for Demink. Just before this occurred, during an

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 online chat, Demink instructed Miller to “snap [i.e., take photographs] until you

 finger falls off” and “take a LOT . . . express . . mouth . . hand . . . penis . . . vag.”

 After Miller sent dozens of photographs to Demink, he instructed her to recharge

 the camera’s battery, “and I will tell you what you need to [do to] finish.” Demink

 then sent nude pictures of Dalton St. Clair as well as child pornography pictures of

 “Larissa” (St. Clair’s fictitious daughter) to show MV #4.

        Over the next several weeks, Demink demanded and received more pictures

 of Miller sexually assaulting MVs #4-5. In total, more than 1,000 images were

 produced of the sexual abuse of MVs #4-5 by Miller. Miller made those images at

 Demink’s direction, and distributed the images to Demink via email.

        Earlier this month, Miller pleaded guilty to producing and distributing child

 pornography. She did so without a plea agreement, and faces 15-30 years on two

 different production of child pornography counts, 5-20 years on two distribution

 of child pornography counts, and up to 10 years on a single count of possessing

 child pornography. Miller’s sentencing hearing is scheduled for October 2011.

        Miller’s parents, who now serve as the guardians of MVs #4-5, described in

 painful detail the effect Demink’s actions have had on their lives. They describe a

 large, close-knit family torn apart by Demink’s crimes. As for MV #4, the

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 “embarrassment, humiliation and guilt continue to haunt him. He believes it is his

 fault that his mother was sent to prison.” The media, Department of Children and

 Family Services, and whispers of other people in their small town are now a part

 of everyday life for MVs #4-5 and their family. The guardians–who were in no

 position financially to raise two young children–now must continue to work and

 seek financial assistance to raise these children. The letter concludes with a truth

 that no one can dispute: “Our large family unit is broken and in some ways is

 irreparable. . . . Life will never be the same for any of us.”5

 5.    Autumn Marchant of Indiana and MVs #6-7: Early 2009

       Even the least extensive abuse among the victims of Demink–that involving

 Autumn Marchant and her two children, MVs #6-7–led to devastating

 consequences for the children and for Marchant. Marchant met Demink in the

 singleparentmeet.com website. Chat discussions focused on the financial freedom

 that Demink could provide Marchant and her children if she complied with his

 demands. Demink’s insistence finally let Marchant to stream a live webcam

 session of her sexual assaults of MVs #6-7 to Demink. Marchant did what

       5
               The letter from the guardians of MVs #4-5 will be provided to the court in
 chambers as Exhibit 5. Accompanying that letter is a restitution calculation, which will
 be addressed in more detail below.

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 Demink demanded, including fondling and performing oral sex on her 9 year-old

 son (MV #6), and having his older sister do the same (MV #7). When Demink

 demanded more photographs or webcam sessions–as he had done with every other

 mother–Marchant declined and did not further exploit her children.

        Still, the damage was done. Demink attempted to reinitiate discussions with

 Marchant a few months later, condescendingly telling her that “one day you will

 see how good [the exercise] was.” To this, Marchant replied “well let’s see, my

 son goes around telling little girls to suck him who are like 5 and 6[.] That is not

 good and my girl gets angry when guys look at her wrong.”

        Marchant has now been charged with child molestation in Indiana, her

 children are now with a guardian, and, in all likelihood, she will lose her parental

 rights.6

 6.     Charity Holloway of Georgia and MV #8-9: May-October 2009

        Almost immediately after meeting Charity Holloway of Georgia, Demink

 promised a life of happiness and security if she took pictures of herself and her

 14 year-old daughter (MV #8). Holloway agreed. The next night, when Holloway

        6
               Given the current status of her case, the government did not receive any
 written material from Marchant. The guardian of MVs #6-7 will likely be present at the
 sentencing hearing to make a victim impact statement to the court.

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 refused to wake her daughter up in the middle of the night to take naked pictures,

 Demink berated her and threatened to end the relationship. Holloway promised to

 take pictures the following night, and Demink instructed her as follows: “write this

 down. 10 of you clothed...different outfits... different rooms in your house; 10 of

 her clothed..different outfits..different rooms in house; 25 of you and her

 together...NO clothes...front and back...smiling! 25 of her...NO clothes...different

 rooms in your house...front and back ... smiling. 15 of you...No clothes...different

 rooms...smiling...front and back; 15 of you and her ... clothed...together...smiling.

 If you do these tomorrow... I will LITERALLY marry you.”

       Later during that same conversation, Demink added that Holloway should

 keep the girl home from school, claiming it would not hurt her and “I have my

 PhD in this hon, I know what I’m talking about.” When Holloway refused to keep

 MV #8 home from school, Demink chastised her repeatedly. Eventually,

 accepting that MV #8 would not be kept from school in order to make child

 pornography for Demink, he told Holloway to produce the images when MV #8

 returned home from school, reminding her “I can provide her a safe, happy, and

 financially secure life.”

       As promised, Holloway took hundreds of pictures of her child, and

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 eventually MV #9, a friend of her daughter. Throughout the next several weeks,

 Holloway continued to comply with Demink’s increasingly graphic demands.

 All along, Demink promised both Holloway and MV #8 that he would marry

 Holloway and move them out of their small Georgia town down to Tampa, Florida

 where Demink told them he lived. But Demink never did. Eventually, MV #8

 reported the abuse to a psychologist. When Holloway told Demink about this

 disclosure, Demink ceased contacting Holloway.

       As for MV #9, Holloway resisted involving this victim because of the

 sexual abuse she had previously endured and because MV #9 was not Holloway’s

 daughter. When Demink learned of the prior abuse suffered by MV #9, he grew

 more insistent that MV #9 be part of the “exercise.” “OMG honey, listen to me

 and listen REAL good ok. When that happens [the sexual abuse], you have to

 rewire her... you have to rewire in her that the human body is natural and not an

 instrument of hurt and pain. Nude is the ONLY WAY to do this. You know that..

 And you trusted me and have been happy... continue.. It will help her a LOT...

 please listen.” Eventually, Demink’s persistence in “helping” MV #9 paid off, and

 MV #9 was victimized again.



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       Earlier this month, Holloway was indicted on several federal child

 exploitation charges. Like Miller and Nail, Holloway faces a minimum mandatory

 15 years in prison on the production charges.

       The mother of MV #9 provided a victim-impact statement for the court’s

 consideration.7 In it, she describes how “devastated” she was to learn of Demink’s

 actions, and how she was “appalled and humiliated for my daughter, myself, and

 my family. That a person could or would do such evil is beyond me, especially to

 a child who cannot defend or protect themselves.” MV #9's mother concludes:

       Your honor I hope you will think about the families and the children
       who have suffered at the hands of this man. I hope when you give
       this man his sentence that you will think of all the damage this man
       has done to these children, not only for today but for a lifetime.

 7.    Monique Leonard of Illinois and MVs #10-11: October-December 2009

       Monique Leonard’s two young children, ages 4 and 7 (MVs #10-11), were

 likewise victimized by Demink. As had the other mothers, Leonard met Demink

 on singleparentmeet.com, befriended him, and eventually succumbed to his

 demands for pictures of the young children. Nude pictures, pictures of oral sex,

 and digital penetration, taken by cell phone, were sent to Demink by Leonard.

       7
              A copy of the letter from MV #9's mother will be submitted to the court in
 chambers as Exhibit 6.

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 The young girls’ lives have never been the same.

        As their father writes in his victim-impact statement, “My daughters cry at

 night because they don’t understand why this has happened to them. Or why they

 can’t see their mother. They’re afraid to be alone, afraid to have the bedroom door

 closed.” After describing the stress of the influx of agencies, lawyers, counselors,

 and judges into the children’s lives, the father concludes this way:

        I will never be able to understand why someone would like to watch
        babies being sexually abused or even want to see them without their
        clothes. To me there is no lower form of life, than someone that uses
        the abuse of power to take advantage of a child. This person may not
        have touched my daughters, but used his power to cause the mothers
        of these children to do unbelievable things, to scar these very young
        minds for the rest of their lives.8

 Monique Leonard has been charged in state court in Illinois for the sexual assaults

 she committed on her daughters. Her case is still pending.

 8.     Deborah Fisher of Oregon and MV #12: January 2010

        In early January 2010, Deborah Fisher of Oregon, who was widowed in July

 2008, met Demink on singleparentmeet.com. She told Demink she was “looking

 to fall in love.” Demink, as he had done so many times previously, told Fisher of


        8
                 The father’s letter on behalf of MVs #10-11 will be submitted to chambers
 as Exhibit 7.

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 the need for children to be raised without clothing and sexually free. Demink had

 little trouble convincing Fisher to remove her clothes, and when he learned that

 one of Fisher’s children was an autistic, non-verbal, twelve year-old boy

 (MV #12), Demink exploited that vulnerability. Demink told Fisher “let him see,

 it is the nicest and healthiest thing you could do... ESPECIALLY if he is Autistic.

 ... His thoughts are trapped inside, it is the hell of Autism.” Demink claimed to

 have a PhD in psychology and to have worked with autistic children previously.

       Using MV #12's autism for his own sexual deviancy, Demink told Fisher

 that no woman will ever touch her child in a sexual manner and so it was up to her

 to let him learn about a woman’s body and his own body. Fisher complied on

 numerous occasions over a two-week period. Demink consistently told Fisher that

 she could take her son’s pain away by following Demink’s directions. Fisher

 committed a variety of sex acts on her son. All at the behest of Demink. Fearing

 child sexual abuse charges, Fisher stopped following Demink’s lead. Demink

 belittled and mocked her for this, and eventually Fisher ceased responding to

 Demink.

       Fisher is now charged in state court with three counts of Sexual Abuse 1,

 one count of Sodomy 1, and four counts of using a child in a display of child

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 pornography. The trial in Fisher’s case is currently set for October 2011. In a

 letter in anticipation of Demink’s sentencing hearing, Fisher explained the severity

 of MV #12's autism, including that the boy requires pull-ups and not regular

 underwear because he has little control over his bodily functions. Although she

 now faces criminal charges and is not permitted to see or speak to her children,

 Fisher worries “that [the children’s] sadness and loss at being away from their

 mom is even more excruciating than the pain and sadness I feel.” As for Demink,

 Fisher describes him as “cunning and devious, very convincing and extremely

 manipulative. My children’s . . . lives have been completely changed. There is

 nothing that could be done to Mr. Demink that is sufficiently equal to the harm

 that he has perpetrated by his lies.”9 MV #12 now lives with his grandparents,

 whose entirely lifestyle and retirement were altered as a result of Demink’s

 crimes.10

 9.    Other Sexually Abusive Conduct by Demink

       Based initially on the investigation in Idaho involving MVs #2-3, Demink’s

 home was searched pursuant to a federal search warrant in September 2010.


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             Fisher’s letter will be provided to the court as Exhibit 8.
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             The grandparent’s victim-impact statement will be provided as Exhibit 9.

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 A computer was seized. A forensic review of the computer revealed that Demink

 possessed 2100 images of child pornography, and 110 videos of child

 pornography, on his computer. Search warrants on his Yahoo! email accounts

 similarly showed emails containing child pornographic images sent to and from

 Demink’s various Yahoo! accounts.

       Nor was the current investigation the first involving Demink’s interest in

 child pornography. In 2003, Demink’s name and credit card information appeared

 during the investigation of 21 websites selling child pornography on the internet.

 Demink used his credit card on three different occasions in 2003 to purchase

 subscriptions to child pornographic websites. He was not prosecuted for those

 offenses.

       During an interview with ICE agents following the search of his home,

 Demink provided information about just 3 of the mothers listed above, minimizing

 his criminal responsibility for each mother. In fact, he would only admit to

 sending some “questionable” pictures over the internet. In what now has become

 a consistent theme for Demink, he showed no remorse for the effect his crimes had

 on the women and children involved. Similarly, a few weeks after the search of

 his home, when agents arrested Demink at his workplace for these crimes, agents

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 asked Demink whether he cared that Nail and Miller had been arrested, were likely

 to lose their parental rights, and be subject to a lifetime on the sex offender

 registry. Demink simply said “no,” and instead complained that the agents

 arrested him in front of other people at his workplace.

                                           II

  SENTENCING GUIDELINE CALCULATIONS AND § 3553(a) FACTORS

       Congress has provided, through 18 U.S.C. § 3553(a), the relevant objectives

 and factors to be considered by sentencing courts in imposing a “sentence

 sufficient, but not greater than necessary.” Those objectives are: (1) the nature

 and circumstances of the offense, and the history and characteristics of the

 defendant; (2) the need for a sentence to reflect the basic aims of sentencing

 (including retribution, deterrence, incapacitation, and rehabilitation); (3) the kinds

 of sentences legally available; (4) the Sentencing Guidelines; (5) Sentencing

 Commission policy statements; (6) the need to avoid unwarranted sentencing

 disparities among defendants with similar records who have been found guilty of

 similar conduct; and (7) the need for restitution. The most relevant factors are

 evaluated below.



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       A.     Sentencing Guidelines Range: § 3553(a)(4)

       It is undisputed that the Sentencing Guidelines in this case call for a

 sentence of life in prison. In fact, the number of victims, the age of his victims

 (including as young as 3 and 4 years old), and the horrific acts perpetrated by

 Demink and his cohorts, placed Demink far beyond the highest guideline level in

 the book. That is, the offense level portion of the guidelines grid ends at 43, with

 every offense at that level resulting in a guidelines range of life in prison. Demink

 scored out at a 49–six full levels higher than the highest level in the book.

       The government understand and appreciates that this Court has been an

 oft-critic of the sentencing guidelines for child pornography cases. But this case is

 not similar to cases involving a collector or viewer of child pornography that have

 stirred controversy. Instead, Demink caused the sexual assaults of a dozen

 children. Moreover, all of these children, save one, were assaulted by their own

 mothers at the insistence of and for the sexual gratification of Demink. While the

 guidelines for simple possession or receipt of child pornography may be a fruitful

 ground for reasonable debate, and even an area of disagreement among thoughtful

 contributors, such debate and disagreement should play no role in the case at bar.

 Put more simply, Demink is nothing like the child pornography offenders whose

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 high guideline ranges give judges pause at the time of sentencing. Demink is a

 serial child sexual exploiter, a master manipulator, and a man worthy of a

 guidelines range of life in prison.

       B.     The Nature and Circumstances of the Offense: § 3553(a)(1)

       The nature and circumstances of the offenses in this case almost defy

 description. Demink transformed the most fundamentally loving relationship

 found in nature–that of a mother and her child–into a tool for his own sexual

 gratification. Demink lied to the mothers involved in his crimes. He preyed on

 their desire for financial security, companionship, and health for their children.

 When they resisted, Demink attacked their core insecurities (e.g., financial

 stability, fitness as a mother, the health of their children, and loneliness). Demink

 took advantage of every opportunity presented–whether it was a medical condition

 (such as the autism of MV #12), a history of abuse (as it was for MV #9), or

 simply a desire for a better life (which was almost a universally sought after)–all

 so that he could control these women in his pursuit of sexually gratifying pictures.

       To be sure, these women are not victims. Each made a decision to sexually

 exploit their children in order to chase the fantasy that Demink created through

 Dalton St. Clair. For that decision, each mother will face justice. A few have

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 already been sentenced to lengthy terms in prison, and all face criminal charges

 involving sex crimes against children. They will never see their children again.

 For their part, the families of these women are left to pick up the pieces. Some

 guardians now must raise their grandchildren, or their nieces and nephews, all

 with previously unplanned for financial and emotional burdens.

       And then there are the children. Sexual abuse standing alone serves as a life

 change for victims who have to endure it. But these children exploited by Demink

 suffer even more than most. In the short term, all were forced to move from their

 homes, live with different guardians, and many changed schools, while the media,

 law enforcement, judges, lawyers, and counselors scrutinize their lives. In the long

 term, these children will likely never see their mothers again. They will have to

 endure the same lifetime of pain and emotional trauma as other victims of child

 sexual abuse, but be unique in that their victimizer was their own mother. To tell

 the story of how Demink manipulated their mother into violating the sacred bond

 between mother and child will be almost an impossible task for these children as

 they move through life. As described above, some of the victims in this case have

 already expressed feeling responsible for their mothers’ incarceration. But the

 responsibility is not theirs. It is Steven Demink’s. The government submits that

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 the nature and circumstances of this case are frankly like no other in the annals of

 criminal law, and they support a life sentence here.

       C.     The History and Characteristics of the Defendant: § 3553(a)(1)

       As to the history and characteristics of Demink, those too support a

 guidelines sentence. The psychological report offered by the defense includes

 three striking points that should give this court pause in ever releasing Demink

 into society. First, according to his own admissions, Demink has spent the better

 part of his adult life exploiting children. Demink admitted to viewing child

 pornography for nearly a decade. (Psych. Report at 15). Demink’s involvement in

 child pornography websites can be independently documented back to 2003, when

 he was identified as a three-time subscriber to a known child pornography website

 that was the subject of an ICE investigation. Given Demink’s manipulative

 personality, the government suggests his interest in sex with children is longer

 standing than he admitted to Dr. Miller. Even Dr. Miller, a paid defense expert,

 described Demink’s sexual adjustment as “significantly deviant and, by definition,

 abnormal.” (Psych. Report at 16).

       Second, Demink still will not admit or discuss this sexual interest in

 children. Although otherwise open and honest with Dr. Miller, Demink refused to

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 discuss his sexual interest in children. “Inasmuch as the defendant is not,

 presently, able to be honest with himself about his sexual proclivities, he remains

 unable to come to terms with this problem and, hence, it follows that he is unable

 to develop the necessary insight needed in order to constructively address it.”

 (Psych. Report at 20-21). This failure to “constructively address” his sexual

 interest in children does not bode well for Demink’s rehabilitation. Nor does it

 bode well for the children of this country should the court grant a variance here.

       Third, the diagnosis reached by Dr. Miller further supports a sentence of life

 in prison. Dr. Miller described Demink as having “a sexual arousal pattern

 characterized by a significantly heightened degree of sexual interest in

 prepubescent and adolescent children,” as having “predatory behavior,” and as a

 man “surely motivated by strong pedophilic urges.” (Psych. Report at 17). While

 Dr. Miller fell short of labeling Demink a pedophile, and suggested that

 rehabilitation is possible for Demink, those conclusions render his report

 internally inconsistent. The offense conduct, and the description of Demink by

 Dr. Miller, all show a man who cannot be trusted to not victimize society’s most

 vulnerable members.



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       Besides the characteristics of Demink outlined in Dr. Miller’s report, the

 remainder of Demink’s personal characteristics are unremarkable. He has a job

 and a supportive family. But what is clear here is that when not working, Demink

 spends the majority of his time viewing images of the sexual abuse of children and

 manipulating women into exploiting their children. And he does so without

 remorse. When it became clear that the Dalton St. Clair lies had been exposed,

 Demink showed little concern for the families he destroyed. His principle concern

 was the appearance of being arrested at work. Even with time to reflect, as he

 wrote a statement to probation, Demink champions buying crafts and candy from

 kids, but never apologizes to any of the victims or co-conspirators. (PSR ¶ 9).

       D.    Seriousness of the Offense, Promoting Respect for the Law, and
             Ensuring Just Punishment, Deterrence, and Protecting the Public

       Section 3553(a)(2) outlines the purposes of sentencing: deterrence,

 rehabilitation, respect for the law, and punishment. Crime deserves punishment.

 Just punishment to be sure, but punishment nonetheless. The pain caused by

 Demink deserves punishment. Given the scope of the devastation caused by

 Demink’s crimes, the punishment here should be life in prison.




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       Deterrence and protecting the public go hand-in-hand in this case. Demink

 manipulated mothers into committing live-broadcast sex acts against their children

 while he hid behind the computer screen. Keeping that arm’s length, Demink

 never had to answer the questions from these presumably confused and hurt

 children, nor address the physical, emotional, and psychological repercussions that

 the abuse had on these children. In his sentencing memorandum, Demink argues

 for a variance because he never himself sexually assaulted a child. (Demink Sent.

 Memo at 6). To follow that lead, and award a downward variance here, would

 send a message to like-minded child exploiters that if they can manipulate others

 to do their bidding, they will receive a break at sentencing. This should not be the

 message of this sentence.

       Moreover, it is precisely because Demink did not personally touch a child

 that the public needs protection from this defendant. What could be more

 dangerous than a man who could affect the sexual assault of a dozen children from

 coast to coast–to meet his own selfish sexual desires–without ever having to leave

 his own house? There is nowhere to place Demink outside of prison that can

 reasonably assure the safety of children.



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       Finally, to promote respect for the law, Demink should not be sentenced

 outside of the guidelines. Puppet masters like Demink almost universally receive

 stiffer sentences than those they control. In a drug context, the supplier of drugs

 typically receives more time in prison than the street dealer. In a murder for hire

 plot, the hit man is often viewed as less culpable than the person ordering the hit.

 So should it be here. To promote respect for the law, Demink is responsible for

 the carnage of lives in this case. He should be given the stiffest sentence of all.

       To protect the public, provide deterrence, promote respect for the law, and

 properly punish this man, Steven Demink should be sentenced to life in prison.

       E.     Avoiding Unwarranted Sentence Disparities

       Section 3553(a)(6) calls for a sentence that avoids “unwarranted sentence

 disparities among defendants with similar records who have been found guilty of

 similar conduct.” Here, Demink’s co-conspirators have already, or will soon,

 receive severe sentences. As indicated above, two of the mothers have already

 been sentenced in this case. Rebecca Nail is serving a 30-year term in federal

 prison. Wendy Beighley is serving a term of 7-20 years in an Idaho state facility.

 Candice Miller awaits sentencing–which must be a minimum of 15 years in

 prison–in federal court in Florida. The remaining four mothers have all been

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 charged in either state or federal court, and face lengthy prison terms themselves.

       And Demink is more culpable than each of these women. None of the

 women demonstrated a sexual interest in their children prior to meeting Demink.

 Demink’s sexual interest in children dates back a decade. None of these women

 had sexually assaulted their children (as far as the government is aware) prior to

 meeting Demink. Demink played a role in the sexual assault of a dozen children

 through these various mothers. None of the women had images of child

 pornography on their computers (except those sent by, or sent to, Demink).

 Demink had more than 2000 images and 110 movies of child pornography on his

 computer. None of the women engaged in a pattern of sexual abuse of children.

 Demink did. None of these women would be in prison, none of these children

 would have been assaulted, but for the actions of Demink. Thus, when compared

 to his co-conspirators, Demink deserves a much harsher sentence than they

 received.

       But avoiding unwarranted sentencing disparity speaks on a national, not

 local, level. “Subsection 3553(a)(6) is concerned with national disparities among

 the many defendants with similar criminal backgrounds convicted of similar

 criminal conduct. . . .§ 3553(a)(6) is there to ensure nationally uniform sentences

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 among like offenders so as to leave room to depart downward for those defendants

 who are truly deserving of leniency.” United States v. Simmons, 501 F.3d 620,

 623-24 (6th Cir. 2007) (citations omitted). Fortunately for the children of this

 country, there are no offenders quite like Steven Demink. The need to avoid

 unwarranted sentencing disparities does not warrant a below-guidelines sentence

 here.

         F.    Restitution

         Section 3553(a)(7) calls for a sentence that provides restitution to any

 victims of the offense. Here, only the guardians of MVs #4-5 submitted a claim

 for restitution. The amount is $103,576, which is the estimated cost of raising two

 young children that were thrust onto these guardians because of Demink’s actions.

 The government requests that the court order Demink to pay this restitution.

 Frankly, it is reasonable for Demink to pay a similar sum for each child-victim in

 this case.




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                                         III

                                  CONCLUSION

       Based on all of the foregoing, the government requests that this court

 sentence Steven Demink to life in prison.

                                               Respectfully submitted,

                                               BARBARA L. McQUADE
                                               United States Attorney

                                               s/Kevin M. Mulcahy

                                               KEVIN M. MULCAHY
                                               HALA Y. JARBOU
                                               Assistant U.S. Attorneys
                                               211 W. Fort Street, Suite 2001
                                               Detroit, MI 48226
                                               (313) 226-9100

 Date: July 28, 2011




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                             CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2011, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system which will send

 notification of such filing to the following:

                                 Timothy Dinan, Esq.

 Also on July 28, 2011, I mailed via Federal Express, the exhibits cited in the
 sentencing memorandum herein to Timothy Dinan.

                                                 s/Kevin Mulcahy
                                                 KEVIN M. MULCAHY
                                                 Assistant United States Attorney
                                                 211 West Fort Street, Suite 2001
                                                 Detroit, MI 48226
                                                 (313) 226-9713
                                                 E-mail: Kevin.Mulcahy@usdoj.gov




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